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16
                                IN THE UNITED STATES DISTRICT COURT
17
                    IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN FRANCISCO DIVISION
19
20
     THE UNITED STATES OF AMERICA,                )   Case No.: 20-CR-00249-RS
21                                                )
                   Plaintiff,                     )   [PROPOSED] ORDER GRANTING MR.
22                                                )   ANDRADE’S REQUEST FOR
            vs.                                   )
                                                  )   EXTENSION OF TIME OF ONE WEEK
23                                                    TO COMPLY WITH COURT ORDER 456
     ROWLAND MARCUS ANDRADE,                      )
24                                                )
                   Defendant.                     )
25                                                )

26
            Application having been made and good cause appearing therefore, defendant’s request
27
     to have an additional week to comply with this Court’s Order on Defendant’s Witness and
28


     [PROPOSED] ORDER GRANTING MR. ANDRADE’S REQUEST FOR EXTENSION OF TIME OF ONE
                         WEEK TO COMPLY WITH COURT ORDER 456
                  UNITED STATES v. ANDRADE, Case # 20-CR-00249-RS - Page 1
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1    Exhibit List Disclosures.
2    IT IS HEREBY ORDERED:
3           The defendant shall make the required disclosure by January 29, 2025.
4
5    Date: ______________________, 2024         _______________________________________
                                                Hon. RICHARD SEEBORG
6
                                                Judge of the United States District Court
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      [PROPOSED] ORDER GRANTING MR. ANDRADE’S REQUEST FOR EXTENSION OF TIME OF ONE
                          WEEK TO COMPLY WITH COURT ORDER 456
                   UNITED STATES v. ANDRADE, Case # 20-CR-00249-RS - Page 2
